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PLAINTIFFS’ EXHIBIT F
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     CLAIM                              EXEMPLARY DISCLOSURES

1. A     computer-   Disclosed by US 6,212,498 B1
   implemented       “A computer-implemented method for enrolling a user in a continuous-
   method      for   speech           recognition
                     system,         comprising:
   dynamically
                     analyzing acoustic content
   presenting    a   of a user utterance
   prewritten text   including multiple words;
   in a graphical    determining, based on the
   user interface    analysis, whether the
   comprising        multiple words of the user
                     utterance      substantially
                     match a multiple-word
                     portion of an enrollment
                     text; and if the multiple
                     words of the user utterance substantially match a multiple-word portion
                     of the enrollment text, using the acoustic content of the user utterance to
                     update acoustic models corresponding to the multiple-word portion of the
                     enrollment text.” (Refer: Claim 1)
                     “FIG. 4A illustrates another example of a constraint grammar for a
                     "select" command used to select previously recognized text. As shown, a
                     constraint grammar may be illustrated as a state diagram 400. The "select"
                     command includes the word "select" followed by one more previously-
                     recognized words, with the words being in the order recognized. The first
                     state 405 of the constraint grammar indicates that the first word of the
                     select command must be "select". After the word "select", the constraint
                     grammar permits a transition along a path 410 to a second state 415 that
                     requires the next word in the command to be a previously-recognized
                     word. A path 420, which returns to the second state 415, indicates that the
                     command may include additional previously-recognized words. A path
                     425, which exits the second state 415 and completes the command,
                     indicates that the command may include only previously-recognized
                     words. FIG. 4B illustrates the state diagram 450 of the constraint
                     grammar for the select command when a previously-recognized utterance
                     is "four score and seven". This state diagram could be expanded to include
                     words from additional utterances.” (Refer: Col. 6, Lines 30 - 50)

                     “The enrollment program may provide a list of enrollment texts, each of
                     which has a corresponding enrollment grammar, for the user's selection.
                     Alternatively, the user may input an enrollment text from another source.
                     In this case, the enrollment program may generate the enrollment
                     grammar from the input enrollment text, or may employ a previously
                     generated enrollment grammar.
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                      FIG. 13 shows a user interface 1300 of the enrollment program. The user
                      interface 1300 displays an enrollment text 1310 for the user to read and
                      displays the user's current position, also referred to as the "enrollment
                      position", using, for example, a moving arrow 1320 in the enrollment text.
                      For example, the display of FIG. 13 shows an enrollment position at the
                      word "for", indicating that the enrollment program has recognized the
                      user's reading of the enrollment text up to the word "for" and that the
                      enrollment process will continue when the user continues reading,
                      beginning with the word "for". By contrast, the display of FIG. 14
                      indicates an enrollment position at the word "program". (Refer: Col. 16,
                      Lines 6 - 24)

1a. receiving     a   Disclosed by US 6,212,498 B1
    text artifact,    “Referring again to FIG. 2, a recognizer 215 receives and processes the
    said       text   frames of an utterance to identify text corresponding to the utterance. The
                      recognizer entertains several hypotheses about the text and associates a
    artifact
                      score with each hypothesis. The score reflects the probability that a
    containing a      hypothesis corresponds to the user's speech. For ease of processing,
    plurality    of   scores are maintained as negative logarithmic values. Accordingly, a
    artifact words;   lower score indicates a better match (a high probability) while a higher
                      score indicates a less likely match (a lower probability), with the
                      likelihood of the match decreasing as the score increases. After
                      processing the utterance, the recognizer provides the best-scoring
                      hypotheses to the control/interface module 220 as a list of recognition
                      candidates, where each recognition candidate corresponds to a hypothesis
                      and has an associated score. Some recognition candidates may
                      correspond to text while other recognition candidates correspond to
                      commands. Commands may include words, phrases or sentences
                      recognized by a constraint grammar 225, explained in greater detail
                      below.” (Refer: Col. 4, Lines 28 - 57)
                      “FIG. 4A illustrates another example of a constraint grammar for a
                      "select" command used to select previously recognized text. As shown, a
                      constraint grammar may be illustrated as a state diagram 400. The "select"
                      command includes the word "select" followed by one more previously-
                      recognized words, with the words being in the order recognized. The first
                      state 405 of the constraint grammar indicates that the first word of the
                      select command must be "select". After the word "select", the constraint
                      grammar permits a transition along a path 410 to a second state 415 that
                      requires the next word in the command to be a previously-recognized
                      word. A path 420, which returns to the second state 415, indicates that the
                      command may include additional previously-recognized words. A path
                      425, which exits the second state 415 and completes the command,
                      indicates that the command may include only previously-recognized
                      words. FIG. 4B illustrates the state diagram 450 of the constraint
                      grammar for the select command when a previously-recognized utterance



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                      is "four score and seven". This state diagram could be expanded to include
                      words from additional utterances.” (Refer: Col. 6, Lines 30 - 50)
1b. storing, via a    Disclosed by US 6,212,498 B1
    processor,        “FIG. 1 is a block diagram of a speech recognition system 100. The
    said       text   system includes input/output (I/O) devices (e.g., microphone 105, mouse
                      110, keyboard 115, and display 120) and a general purpose computer 125
    artifact in a
                      having a processor 130, an I/O unit 135 and a sound card 140. A memory
    memory            145 stores data and programs such as an operating system 150, an
    device of a       application program 155 (e.g., a word processing program), and speech
    computer;         recognition software 160.” (Refer: Col. 3, Lines 43 - 50)
                      “User-specific backup vocabulary words include words which a user has
                      created while using the speech recognition software. These words are
                      stored in vocabulary files for the user and for the dictation, and are
                      available as part of the backup dictionary for the dictation topic regardless
                      of user, and to the user regardless of which dictation topic is being used.
                      For example, if a user is using a medical topic and adds the word
                      "ganglion" to the dictation vocabulary, any other user of the medial topic
                      will have immediate access to the word "ganglion". In addition, the word
                      will be written into the user-specific backup vocabulary. Then, if the user
                      says "ganglion" while using a legal topic, the word "ganglion" will be
                      available during correction from the backup dictionary.” (Refer: Col. 6,
                      Lines 6 - 19)
1c. retrieving, via   Disclosed by US 6,212,498 B1
    said              “Referring again to FIG. 2, a recognizer 215 receives and processes the
    processor,        frames of an utterance to identify text corresponding to the utterance. The
                      recognizer entertains several hypotheses about the text and associates a
    said       text
                      score with each hypothesis. The score reflects the probability that a
    artifact;         hypothesis corresponds to the user's speech. For ease of processing,
                      scores are maintained as negative logarithmic values. Accordingly, a
                      lower score indicates a better match (a high probability) while a higher
                      score indicates a less likely match (a lower probability), with the
                      likelihood of the match decreasing as the score increases. After
                      processing the utterance, the recognizer provides the best-scoring
                      hypotheses to the control/interface module 220 as a list of recognition
                      candidates, where each recognition candidate corresponds to a hypothesis
                      and has an associated score. Some recognition candidates may
                      correspond to text while other recognition candidates correspond to
                      commands. Commands may include words, phrases or sentences
                      recognized by a constraint grammar 225, explained in greater detail
                      below.” (Refer: Col. 4, Lines 28 - 57)
                      “Referring to FIG. 12, the recognizer 215 operates according to a
                      procedure 1200. First, prior to processing, the recognizer 215 initializes
                      the lexical tree 500 as described above (step 1205). The recognizer 215
                      then retrieves a frame of parameters (step 1210) and determines whether
                      there are hypotheses to be considered for the frame (step 1215). The first



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                      frame always corresponds to silence so that there are no hypotheses to be
                      considered for the first frame.” (Refer: Col. 14, Lines 11 - 18)
1d. displaying        Disclosed by US 6,212,498 B1
    said       text   “FIG. 13 shows a user interface 1300 of the enrollment program. The user
    artifact on the   interface 1300 displays an enrollment text 1310 for the user to read and
                      displays the user's current position, also referred to as the "enrollment
    display screen
                      position", using, for example, a moving arrow 1320 in the enrollment text.
    of         said   For example, the display of FIG. 13 shows an enrollment position at the
    computer;         word "for", indicating that the enrollment program has recognized the
                      user's reading of the enrollment text up to the word "for" and that the
                      enrollment process will continue when the user continues reading,
                      beginning with the word "for". By contrast, the display of FIG. 14
                      indicates an enrollment position at the word "program". (Refer: Col. 16,
                      Lines 13 - 24)
1e. receiving    a Disclosed by US 6,212,498 B1
    vocal input;   “A speech recognition system for enrolling a user, comprising: a display
                   for displaying an enrollment text to a user; an input device for receiving
                   speech signals; a processor for: determining a user utterance including
                   multiple words from a received speech signal; analyzing acoustic content
                   of the user utterance; determining, based on the acoustic analysis, whether
                   the multiple words of the user utterance substantially match a multiple-
                   word portion of an enrollment text; and using the user utterance to update
                   acoustic models corresponding to the multiple-word portion of the
                   enrollment text if multiple words of the user utterance substantially match
                   a multiple-words portion of the enrollment text.” (Refer: Claim 20)
1f. generating,       Disclosed by US 6,212,498 B1
    via       said    “A speech recognition system for enrolling a user, comprising: a display
    processor, a      for displaying an enrollment text to a user; an input device for receiving
                      speech signals; a processor for: determining a user utterance including
    text       file
                      multiple words from a received speech signal; analyzing acoustic content
    representing      of the user utterance; determining, based on the acoustic analysis, whether
    the      words    the multiple words of the user utterance substantially match a multiple-
    spoken in said    word portion of an enrollment text; and using the user utterance to update
    vocal input,      acoustic models corresponding to the multiple-word portion of the
    said text file    enrollment text if multiple words of the user utterance substantially match
    containing a      a multiple-words portion of the enrollment text.” (Refer: Claim 20)
                      “After the pre-filtering procedure responds with the requested list of
    plurality    of
                      words, the recognizer initiates a hypothesis for each word from the list
    hypothesis        and compares acoustic models for the word to the frames of parameters
    words;            representing the utterance. The recognizer uses the results of these
                      comparisons to generate scores for the hypotheses. Hypotheses having
                      excessive scores are eliminated from further consideration. As noted
                      above, hypotheses that comply with no active constraint grammar also
                      are eliminated.” (Refer: Col. 13, Lines 50 - 58)



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1g. comparing,       Disclosed by US 6,212,498 B1
    via       said   “A speech recognition system for enrolling a user, comprising: a display
    processor, a     for displaying an enrollment text to a user; an input device for receiving
                     speech signals; a processor for: determining a user utterance including
    predetermined
                     multiple words from a received speech signal; analyzing acoustic content
    number      of   of the user utterance; determining, based on the acoustic analysis, whether
    said             the multiple words of the user utterance substantially match a multiple-
    hypothesis       word portion of an enrollment text; and using the user utterance to update
    words to a       acoustic models corresponding to the multiple-word portion of the
    predetermined    enrollment text if multiple words of the user utterance substantially match
    number      of   a multiple-words portion of the enrollment text.” (Refer: Claim 20)
                      “Referring again to FIG. 2, a recognizer 215 receives and processes the
    said artifact
                     frames of an utterance to identify text corresponding to the utterance. The
    words;           recognizer entertains several hypotheses about the text and associates a
                     score with each hypothesis. The score reflects the probability that a
                     hypothesis corresponds to the user's speech. For ease of processing,
                     scores are maintained as negative logarithmic values. Accordingly, a
                     lower score indicates a better match (a high probability) while a higher
                     score indicates a less likely match (a lower probability), with the
                     likelihood of the match decreasing as the score increases. After
                     processing the utterance, the recognizer provides the best-scoring
                     hypotheses to the control/interface module 220 as a list of recognition
                     candidates, where each recognition candidate corresponds to a hypothesis
                     and has an associated score. Some recognition candidates may
                     correspond to text while other recognition candidates correspond to
                     commands. Commands may include words, phrases or sentences
                     recognized by a constraint grammar 225, explained in greater detail
                     below.” (Refer: Col. 4, Lines 28 - 57)
                     “After the pre-filtering procedure responds with the requested list of
                     words, the recognizer initiates a hypothesis for each word from the list
                     and compares acoustic models for the word to the frames of parameters
                     representing the utterance. The recognizer uses the results of these
                     comparisons to generate scores for the hypotheses. Hypotheses having
                     excessive scores are eliminated from further consideration. As noted
                     above, hypotheses that comply with no active constraint grammar also
                     are eliminated.” (Refer: Col. 4, Lines 50 - 58)
                     “In generating the score for a hypothesis, the recognizer uses acoustic
                     scores for words of the hypothesis, a language model score that indicates
                     the likelihood that words of the hypothesis are used together, and scores
                     provided for each word of the hypothesis by the pre-filtering procedure.
                     The scores provided by the pre-filtering procedure include components
                     corresponding to a crude acoustic comparison and a language model score
                     indicative of the likelihood that a word is used, independently of context.
                     The recognizer may eliminate any hypothesis that is associated with a
                     constraint grammar (e.g., a command hypothesis), but does not comply
                     with the constraint grammar.” (Refer: Col. 13 - 14, Lines 66 - 10)


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1h. determining a     Disclosed by US 6,212,498 B1
    match             “An enrollment position may be determined within the enrollment text,
    location     in   and a user utterance may be required to match a portion of the enrollment
                      text that begins at the enrollment position. The enrollment text and the
    said       text
                      enrollment position may be displayed. If the user utterance matches a
    artifact where    portion of the enrollment text, the enrollment position is advanced past
    a      specific   the matching portion in the enrollment text.” (Refer: Col. 2, Lines 21 -
    number       of   27)
    said              “If the recognizer determines that the word or words corresponding to the
    predetermined     hypothesis were likely to have been spoken by the user, then the
    number       of   recognizer determines whether the last word of the hypothesis is ending
                      (step 1245). The recognizer determines that a word is ending when the
    hypothesis
                      frame corresponds to the last component of the model for the word. If the
    words match a     recognizer determines that a word is ending (step 1245), the recognizer
    specific          sets a flag that indicates that the next frame may correspond to the
    number       of   beginning of a word (step 1250).” (Refer: Col. 14, Lines 33 - 42)
    said              “FIG. 13 shows a user interface 1300 of the enrollment program. The user
    predetermined     interface 1300 displays an enrollment text 1310 for the user to read and
    number       of   displays the user's current position, also referred to as the "enrollment
                      position", using, for example, a moving arrow 1320 in the enrollment text.
    artifact words;   For example, the display of FIG. 13 shows an enrollment position at the
                      word "for", indicating that the enrollment program has recognized the
                      user's reading of the enrollment text up to the word "for" and that the
                      enrollment process will continue when the user continues reading,
                      beginning with the word "for". By contrast, the display of FIG. 14
                      indicates an enrollment position at the word "program".
                      Using the user interface 1300 of FIG. 13, the user starts the enrollment
                      program by selecting the Record button 1330 through a voiced command
                      or an input device such as a mouse. The user then reads the displayed text
                      1310 beginning with the text at the enrollment position, as indicated by
                      the arrow 1320. As the user reads, the recognizer 215 matches the user's
                      speech to the enrollment text using the enrollment grammar and advances
                      the enrollment position (and arrow 1320) to the beginning of the next
                      word to be spoken. Acoustic models corresponding to the enrollment text
                      are updated based on the matching user utterances. In general, the
                      recognizer 215 does not use the pre-filtering procedure 240 during the
                      enrollment process.
                      As shown in FIG. 15, the enrollment program begins by setting the
                      enrollment position at the beginning of the enrollment text (step 1510)
                      and displaying the arrow at the enrollment position (step 1520). The
                      enrollment program next receives the user's digitized speech for an
                      utterance (step 1530). The recognizer 215, using the enrollment grammar
                      corresponding to the enrollment text, determines whether the utterance
                      matches a portion of the enrollment text beginning at the enrollment
                      position (step 1540). Because the portion of the text to which an utterance
                      corresponds is unspecified, the recognizer 215 uses the enrollment


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                       grammar to identify a portion of the enrollment text beginning at the
                       enrollment position that best matches the utterance.” (Refer: Col. 16,
                       Lines 13 - 51)
1i. altering, via      Disclosed by US 6,212,498 B1
    said               “A computer-implemented method for enrolling a user into a continuous-
    processor, the     speech recognition system, comprising: displaying an enrollment text;
                       displaying an enrollment position within the enrollment text; receiving a
    display     on
                       user utterance including multiple words; determining whether a match
    said display       exists between the multiple words of the user utterance and a multiple-
    screen      to     word portion of the enrollment text beginning at the enrollment position;
    display said       updating the enrollment position if a match exists; and displaying the
    match              updated enrollment position.” (Refer: Claim 15)
    location    on     “The method of claim 15, wherein displaying the enrollment position and
    said display       the updated enrollment position further comprises displaying a cursor in
                       the enrollment text at the enrollment position.” (Refer: Claim 18)
    screen of said
                       “A speech recognition system for enrolling a user, comprising: a display
    computer;          for displaying an enrollment text to a user; an input device for receiving
                       speech signals; a processor for: determining a user utterance including
                       multiple words from a received speech signal; analyzing acoustic content
                       of the user utterance; determining, based on the acoustic analysis, whether
                       the multiple words of the user utterance substantially match a multiple-
                       word portion of an enrollment text; and using the user utterance to update
                       acoustic models corresponding to the multiple-word portion of the
                       enrollment text if multiple words of the user utterance substantially match
                       a multiple-words portion of the enrollment text.” (Refer: Claim 20)
                       “Other embodiments are within the scope of the following claims. For
                       example, an enrollment program may include multiple enrollment texts,
                       each with corresponding enrollment grammars, allowing a user to select
                       one or more texts for enrollment. The user may create an enrollment text,
                       for which the enrollment program will create a corresponding enrollment
                       grammar. The specific methods by which the enrollment and rejection
                       grammars score a user utterance may vary. Similarly, the method by
                       which the scores are evaluated to determine whether the user utterance
                       matches a portion of the enrollment text may vary.” (Refer: Col. 21, Lines
                       21 - 31)
1j. determining,       Disclosed by US 7,266,500 B2
    via         said   To implement the method according to the invention, the whole speech
    processor, the     text is stored on a floppy disk prior to the delivery of the speech and is
                       stored in the memory 2 via the floppy disk drive 1 and the processing unit
    font size of
                       7. Additional parameters, such as, the language used, can be fed as
    the text of said   information to the speech recognition system 4 via the keyboard 9.
    text artifact as   Furthermore, the additional control commands can be defined by this
    displayed on       keyboard 9, for example, with which words which special actions are to
                       be carried out. Alternatively, this information may also be stored together




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    said display with the text in a certain format on the floppy disk.” (Ref: Col. 3 - 4, Lines
    screen;      55 - 65)
                 “A display device controller communicatively connected with a
                 recognizer of at least one of words and word combinations and a
                 relation of the captured text to a previously recognized stored word or
                 word combination, said recognizer being in communicative connection
                 with an acoustic recording device configured for capturing speech text
                 during delivery of the speech, and with a memory containing a pre-
                 stored text corresponding to said speech text, said controller being
                 configured to scroll so as to maintain on display one or more words
                 preceding, and one or more words following, the word or word
                 combination, respectively, most-recently recognized by the recognizer
                 from said captured speech text, said words following being part of said
                 pre-stored text, said apparatus further comprising a display device on
                 which said controller maintains said display of one or more words
                 preceding or following wherein at least one section of the displayed
                 captured text is advanced by one word or word combination each time a
                 single word is recognized, said apparatus having an interface for
                 sending control instructions to another device other than said display
                 device when a particular keyword combination is recognized by said
                 recognizer; and a panic button for displaying a last part of a correctly
                 recognized portion of the speech in a smaller font size in order to
                 display a larger section of the speech.” (Refer: Claim 18)
1k. determining,       Disclosed by US 7,266,500 B2
    via         said   “The system of claim 6, wherein the means for carrying out certain
    processor, the     actions comprise a display device for displaying at least a just recognized
                       section of the speech text containing a word or word combination.”
    orientation of
                       (Refer: Claim 7)
    the electronic     “The system of claim 5, further comprising an actuation device for
    screen             enabling a user delivering said speech to operate the actuation device for
    displaying the     adjusting the size of a currently displayed text section during said
    text of the text   delivery.” (Refer: Claim 10)
    artifact;          “With another setting, each stored word is such a control word, i.e. the
                       section is advanced by one word each time a single word is recognized,
                       for example. When a complete speech text is stored, the text is scrolling
                       continuously while the speed is defined by the speaker himself via his
                       speech. This means that there is no need for the speaker to adjust to the
                       display with his speech rate, but the display is adjusted to the speed of
                       the current speaker.” (Ref: Col. 4, Lines 27 - 34)
1l. altering, via      Disclosed by US 6,212,498 B1
    said               “A speech recognition system for enrolling a user, comprising: a display
    processor,         for displaying an enrollment text to a user; an input device for receiving
                       speech signals; a processor for: determining a user utterance including
    said
                       multiple words from a received speech signal; analyzing acoustic content
    predetermined      of the user utterance; determining, based on the acoustic analysis, whether



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number      of   the multiple words of the user utterance substantially match a multiple-
artifact words   word portion of an enrollment text; and using the user utterance to update
utilized   for   acoustic models corresponding to the multiple-word portion of the
                 enrollment text if multiple words of the user utterance substantially match
comparing to
                 a multiple-words portion of the enrollment text.” (Refer: Claim 20)
said             “Other embodiments are within the scope of the following claims. For
predetermined    example, an enrollment program may include multiple enrollment texts,
number      of   each with corresponding enrollment grammars, allowing a user to select
hypothesis       one or more texts for enrollment. The user may create an enrollment text,
words.           for which the enrollment program will create a corresponding enrollment
                 grammar. The specific methods by which the enrollment and rejection
                 grammars score a user utterance may vary. Similarly, the method by
                 which the scores are evaluated to determine whether the user utterance
                 matches a portion of the enrollment text may vary.” (Refer: Col. 21, Lines
                 21 - 31)




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